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 5

 6   Attorney for defendant
     GARY LOCH
 7

 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 2:16-CR-00134-KJM

12                      Plaintiff,                     STIPULATION AND [PROPOSED]
                                                       ORDER TO TEMPORARILY REMOVE
13          v.                                         TRANSMITTER

14   GARY LOCH,

15                      Defendant.

16

17          The defendant, Gary Loch, through his undersigned counsel and the United States,

18   through its undersigned counsel, hereby agree and request that the Court order the temporary

19   removal of Mr. Loch’s transmitter to permit him to undergo an MRI.

20          Mr. Loch is subject to electronic monitoring pursuant to the conditions of his release. Mr.

21   Loch resides in Oregon and US Pretrial Services in the District of Oregon is supervising him

22   there as a courtesy. Eastern District of California PTS Officer Basurto has been notified by the

23   supervising officer in the District of Oregon that Mr. Loch is in need of an MRI, which has been

24   scheduled for August 14, 2017. His doctor has informed him that he will need to have the

25   transmitter temporarily removed in order to undergo the procedure. Specifically, Mr. Loch will

26   report to the Pretrial Services office in the District of Oregon by 8:00am on August 14, 2017 to

27   have the transmitter removed. He will then report to the Pretrial Services office directly after the

28   MRI by 11:30am that same date to have the transmitter put back on.
                                                      1
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 1   Date: August 11, 2017                                      PHILLIP A. TALBERT
                                                                United States Attorney
 2
                                                                /s/ Richard J. Bender
 3
                                                                RICHARD J. BENDER
 4                                                              Assistant U.S. Attorney

 5

 6   Date: August 11, 2017                                      /s/ WILLIAM BONHAM for
                                                                WILLIAM BONHAM
 7                                                              Counsel for defendant
                                                                GARY LOCH
 8

 9                                                ORDER
10          IT IS SO ORDERED. Mr. Loch’s transmitter will be temporarily removed to permit him
11   to undergo an MRI on August 14, 2017. Specifically, Mr. Loch will report to the Pretrial
12   Services office in the District of Oregon by 8:00am on August 14, 2017 to have the transmitter
13   removed. He will then report to the Pretrial Services office directly after the MRI by 11:30am
14   that same date to have the transmitter put back on.
15   Date: August 11, 2017
16

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                                                           HON. EDMUND F. BRENNAN
18                                                         MAGISTRATE JUDGE
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